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                                   ORDERED.

  Dated: January 18, 2019




                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

In re:                                                   Case No.: 8:18-BK-08742 RCT
                                                         Chapter 7
JORGE ORTEGA,
DIANE ORTEGA,

         Debtor(s).
                                      /

     ORDER APPROVING TRUSTEE’S APPLICATION TO EMPLOY
BK GLOBAL REAL ESTATE SERVICES AND LISTING AGENT TO PROCURE
 CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. Sec. 327, 328 AND 330
                        (DOC. NO. 25)

                THIS MATTER came on for consideration of the Application to Employ

BK Global Real Estate Services and Listing Agent to Procure Consented Public Sale

Pursuant to 11 U.S.C. Sec. 327, 328 and 330 with accompanying declarations in support

of the same (the “Application”) (Doc. No. 25), filed by Dawn A. Carapella, Chapter 7

Trustee (“Trustee”).    The Court having reviewed the Application, the Affidavit of

Disinterestedness and the record, finds as follows:

         The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§ 1408
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and 1409. Notice of the Application was adequate and proper. Good cause exists for the

relief requested, the employment of the professionals is in the best interests of Debtor(s)

and the creditors. The Court, therefore, finds that the Application should be approved.

       Accordingly, it is

       ORDERED:

       1. The Application is approved.

       2. Defined terms not otherwise defined herein have the meanings given to them in

           the Application and the Affidavit.

       3. The Trustee is authorized to retain and compensate BKRES and Listing Agent

           to procure Secured Creditor’s Consent, and otherwise market and sell the

           Property, in the above-captioned Chapter 7 case pursuant to 11 U.S.C. § § 327,

           328(a) and 330 and Rules 2014 and 2016 of the Federal Rules of Bankruptcy

           Procedure and in accordance with the terms and conditions set forth in the

           BKRES Agreement, the Listing Agreement and this Order.

       4. BKRES and Listing Agent shall not split or otherwise share their fees with any

           other person or entity.

       5. BKRES and Listing Agent are disinterested persons within the meaning of

           Bankruptcy Code Section 101(14).

       6. BKRES and Listing Agent shall be compensated in accordance with the

           BKRES Agreement and Listing Agreement, respectively, and such

           compensation shall not be subject to challenge except under the standard of

           review set forth in 11 U.S.C. § 330.




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       7. BKRES and Listing Agent shall be authorized to receive and retain their fees

           from Secured Creditor at the successful closing of the sale of the Property

           without necessity of further order of the Court.

       8. The estate shall, in no circumstance, be obligated to compensate BKRES or

           Listing Agent in such event and BKRES and Listing Agent shall not have a

           claim against the estate for any unpaid amounts.

       9. BKRES and Listing Agent, and anyone claiming by, through or under either of

           them, shall only have recourse for recovering its fee to Secured Creditor. The

           estate shall have no liability for any such claim.

       10. This Court shall retain jurisdiction to hear and determine all matters arising

           from or related to the implementation of this Order.


Dawn A. Carapella is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and to file a proof of service within three days of entry of the order.




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